           Case 2:01-cr-00071-MV Document 22 Filed 04/11/01 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

          Plaintiff,

vs.                                                         Case No. 01-071

MICHAEL ESTRADA,

          Defendant.


                                                ORDER

       The Court having received information from United States Pretrial Services concerning

amending the conditions of release as to Michael Estrada, and there being no opposition from

Assistant United States Attorney, Terri J. Abernathy, and the Court being advised in the premises.

         IT IS HEREBY ORDERED that the conditions of release as to Michael Estrada be

amended to allow defendant to be released from Diersen Charities, Inc., to reside with his mother.

All other previously imposed conditions including drug testing and counseling, if deemed necessary

by Pretrial Services, shall remain in effect.




                                                               ________________________
                                                              KAREN B. MOLZEN
                                                              U. S. Magistrate Judge
